      Case 2:19-cr-00387-MSG Document 1 Filed 07/10/19 Page 1 of 21



                 IN THE UNITED STATESDISTRICT COURT

             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                       CRIMINAL NO.      19-

                                               DATE FILED:

GREGORY GRAHAM.PEREZ
          alkla"Q"                             VIOLATIONS:
LEROY GRAY
         a/k/a "Scrap"
         a/k/a "Raheen Arnold"
                                               21 U.S.C. $ 846 (conspiracy to
                                               distribute 500 grams or more of
                                               methamphetamine - 1 count)
                                               2l u.s.c. $ 8al(a)(1), (bxlXB)
                                               (distribution of 50 grams or more of
                                               methamphetamine     -  4 counts)
                                               21 u.s.c. $ 8al(a)(l), (bxlXA)
                                               (possession with intent to distribute of 500
                                               grams or more of methamphetamine - I
                                               count)
                                               2l u.s.c. $ 841(a)(1), (b)(1XB)
                                               (possession with intent to distribute 500
                                               grams or more of cocaine - I count)
                                               18 U.S.C. $ 922(g)(1) (possession of
                                               a firearm by a felon - 2 counts)
                                               l8 U.S.C. $922(o)(1) (possession of a
                                               machinegun-l count)
                                               2l U.S.C. $ 856(a)(2) (maintaining a drug
                                               house - I count)
                                               18 U.S.C. $ 924(c)(1)(possession of a
                                               firearm in furtherance of a drug
                                               trafficking crime - 2 counts)
                                               l8 U.S.C. $ 2 (aiding and abetting)
                                               Notices of forfeiture

                                INDICTMENT
                                    COUNT ONE

THE GRAND JURY CHARGES THAT:

         At all times material to this Indictment
          Case 2:19-cr-00387-MSG Document 1 Filed 07/10/19 Page 2 of 21



               l.       Defendant GREGORY GRAHAM-PEREZ, alWa "Q," resided at a home

located on the 1500 block of South Myrtlewood Street, Philadelphia, Pennsylvania ("the South

Myrtlewood Location").

               2.       Defendant LEROY GRAY, a,/k/a "Scrap," resided at a home located on

the 4800 block of North 9th Street, Philadetphia, Pennsylvania ("the North gth Street Location").

               3.       The individual hereafter identified as "the Buyer," whose identity is

known to the grand jury, was a Confidential Informant working \Mith the Federal Bureau of

Investigation ("FBI") posing as a private citizen interested in purchasing controlled substances.

               4.       From on or about April 24,2019, through on or about May 16,2019, in

Philadelphia, in the Eastem District ofPennsylvania, defendants

                                    GREGORY GRAHAM-PEREZ,
                                              a/k/a "Q," and
                                             LEROYGRAY,
                                              a/k/a "Scrap,"

conspired and agreed, together with others known and unknown to the grand jury" to knowingly

and intentionally distribute a controlled substance, that is 500 grams or more    ofa mixture or

substance containing a detectable amount of methamphetamine, a Schedule          II controlled

substance, in violation of Title 21, United States Code, Section 841(a)(1), (bX1XA).

                                        MANNERAND MEANS

               It was   a part   oithat conspiracy that:

               1.       Defendants GREGORY GRAHAM-PEREZ and LEROY GRAY were

business associates who ananged for the sale of methamphetamine to the Buyer on several

occasions for profit in Philadelphia, in the Eastern District of Pennsylvania.




                                                     2
          Case 2:19-cr-00387-MSG Document 1 Filed 07/10/19 Page 3 of 21



                2.   Defendant LEROY GRAY introduced the Buyer to defendant GREGORY

GRAHAM-PEREZ for the purpose of setting up future purchases of methamphetamine in

Philadelphia.

                3.   Defendant LEROY GRAY provided the Buyer with defendant

GREGORY GRAHAM-PEREZ'S telephone number, (XXX) XXX-4517, to arrange lor sales of

methamphetamine to the Buyer.

                4.   Defendant GREGORY GRAHAM-PEREZ communicated with the Buyer

over a cellular phone on numerous occasions to arrange for sales of methamphetamine in

Philadelphia.

                5.   Defendant LEROY GRAY served as a source of supply      of

methamphetamine for GRAHAM-PEREZ, and they both worked together for profit to sell large

quantities of methamphetamine to the Buyer.

                6.   Defendant LEROY GRAY stored methamphetamine at the North 9th

Street Location.

                7.   To protect their narcotics trafficking activities, defendants LEROY GRAY

and GREGORY GRAHAM-PEREZ stored firearms in their residences.




                                              -)
           Case 2:19-cr-00387-MSG Document 1 Filed 07/10/19 Page 4 of 21



                                          OVERT ACTS

                 In furtherance ofthe conspiracy and to accomplish its objects, defendants

GREGORY GRAHAM-PEREZ and LEROY GRAY, and others unknown to the Grand Jury,

committed the following overt acts, among others, in Philadelphia, in the Eastem District    of

Pennsylvania:

                 l.     In or about April 2019, defendant LEROY GRAY provided the Buyer

with defendant GREGORY GRAHAM-PEREZ'S cellphone number to enable the Buyer to

purchase methamphetamine through defendant GRAHAM-PEREZ.

                 On or about   April24,2019:

                 2.     The Buyer contacted defendant GREGORY GRAHAM-PEREZ on his

cellphone to arrange for defendant GRAHAM-PEREZ to provide a sample of methamphelamine

to the Buyer.

                 3.     Defendant GREGORY GRAHAM-PEREZ provided the Buyer with

approximately two grams of methamphetamine so that the Buyer could evaluate its quality and

determine whether to purchase additional methamphetamine from defendant GRAHAM-PEREZ

in the future.

                 On or about April 26,2019:

                 4.     The Buyer contacted defendant GREGORY GRAHAM-PEREZ on his

cellphone to arrange for the purchase of methamphetamine in Philadelphia.

                 5.     Defendant GREGORY GRAHAM-PEREZ drove to the North 9th Street

Location where he picked up defendant LEROY GRAY, and they proceeded to the Buyer's

location to make an exchange of money for methamphetamine.




                                                 4
         Case 2:19-cr-00387-MSG Document 1 Filed 07/10/19 Page 5 of 21



              6.          The Buyer purchased approximately 121 grams of methamphetamine

directly from defendant GREGORY GRAHAM-PEREZ in exchange for $1,500.

              7.          After the sale of methamphetamine to the Buyer, defendant GREGORY

GRAHAM-PEREZ drove back to the North 9th Street Location and dropped off defendant

LEROY GRAY.

              On or about May 8, 2019:

              8.          The Buyer contacted defendant GREGORY GRAHAM-PEREZ on his

cellphone to arrange for the purchase of methamphetamine in Philadelphia.

              9.          Defendant GREGORY GRAHAM-PEREZ drove to the North 9th Street

Location where he picked up defendant LEROY GRAY, and they proceeded to the Buyer's

location to make an exchange of money for methamphetamine.

              10.         The Buyer purchased approximately 121 grams of methamphetamine

directly from defendant GREGORY GRAHAM-PEREZ in exchange for $1,500.

              I   I   .   After the sale of methamphetamine to the Buyer, defendant GREGORY

GRAHAM-PEREZ drove back to the North 9th Street Location and dropped off defendant

LEROY GRAY.

              On or about May 15,2019:

              12.         The Buyer contacted defendant GREGORY GRAHAM-PEREZ on his

cellphone to arrange for the purchase of methamphetamine in Philadelphia.

              13.         Delendant GREGORY GRAHAM-PEREZ met with the Buyer at a gas

station where the Buyer purchased approximately 116 gams of methamphetamine from

defendant GRAHAM-PEREZ in exchange for          $I   ,500.




                                                 5
          Case 2:19-cr-00387-MSG Document 1 Filed 07/10/19 Page 6 of 21


                                                                                              '
               14.    Immediately after the sale of methamphetamine to the Buyer, defendant

GREGORY GRAHAM-PEREZ drove to the North 9th Street Location and met with defendant

LEROY GRAY.

               On or about May 76,2019:

               15.    The Buyer contacted defendant GREGORY GRAHAM-PEREZ on his

cellphone to arrange for the purchase of methamphetamine in Philadelphia.

               16.    Defendant GREGORY GRAHAM-PEREZ met with the Buyer in a

parking lot where he provided approximately 340 grams of methamphetamine to the Buyer in

exchange for a sum of money.

               17.    Detbndant GREGORY GRAHAM-PEREZ then fled on foot from law

enforcement.

               18.    DefendantGREGORYGRAHAM-PEREZpossessedapproximately

$1,400, which he had received from the Buyer as partial payment for the methamphetamine.

               19.    Inside the South Myrtlewood Location, defendant GREGORY

GRAHAM-PEREZ possessed         a loaded   firearm.

               20.    Inside the North 9th Street Location, defendant LEROY GRAY possessed

two firearms, approximately 523 grams of methamphetamine, and approximately 514 grams of

cocalne

               All in violation of Title 21, United      States Code, Section 846.




                                                     6
         Case 2:19-cr-00387-MSG Document 1 Filed 07/10/19 Page 7 of 21



                                         COUNT TWO

THE GRAND JURY FURTHER CHARGES THAT:

               On or about April 26, 2019, in Philadelphia, in the Eastem District   of

Pennsylvania, defendant

                               GREGORY GRAHAM-PEREZ,
                                           aMa"Qr"

knowingly and intentionally distributed, and aided and abetted the distribution of, 50 grams or

more, that is, approximately 121 grams ofa mixture and substance containing a detectable

amount of methamphetamine, a Schedule II controlled substance.

               In violation of Title 21, United States Code, Section 841(a)(l), (bX1XB) and Title

18, United States Code, Section 2.




                                                7
         Case 2:19-cr-00387-MSG Document 1 Filed 07/10/19 Page 8 of 21



                                       COUNT THREE

THE GRAND JURY FURTHER CHARGES THAT:

               On or about May 8,2019, in Philadelphia, in the Eastem District ofPennsylvania,

defendant

                               GREGORY GRAHAM-PER.E,Z,
                                      alWa"Q,"

knowingly and intentionally distributed, and aided and abetted the distribution of, 50 grams or

more, that is, approximately 121 grams ofa mixture and substance containing a detectable

amount of methamphetamine, a Schedule II controlled substance.

               In violation of Title 21, United States Code, Section 8a1(a)(1), (b)(1XB) and Title

18, United States Code, Section 2.




                                                8
         Case 2:19-cr-00387-MSG Document 1 Filed 07/10/19 Page 9 of 21



                                        COUNT FOUR

THE GRAND JURY FURTHER CHARGES THAT:

               On or about May 15, 2019, in Philadelphia, in the Eastem District   of

Pennsylvania, defendant

                               GREGORY GRAHAM-PEREZ,
                                           aMa"Qr"

knowingly and intentionally distributed, and aided and abetted the distribution of, 50 grams or

more, that is, approximately 116 grams ofa mixture and substance containing a detectable

amount of methamphetamine, a Schedule II controlled substance.

               In violation of Title 21, United States Code, Section 8a1(a)(1), (b)(1XB) and Title

18, United States Code, Section 2.




                                                9
            Case 2:19-cr-00387-MSG Document 1 Filed 07/10/19 Page 10 of 21



                                           COUNT FIVE

THE GRAND JURY FURTHER CHARGES THAT:

                  On or about May 16,2019, in Philadelphia, in the Eastem District   of

Pennsylvania, defendant

                                  GREGORY GRAHAM-PEREZ,
                                         alk/a"Q,,"

knowingly and intentionally distributed, and aided and abetted the distribution of, 50 grams or

more, that is, approximately 340 grams of a mixture and substance containing a detectable

amount of methamphetamine, a Schedule II controlled substance.

                  In violation of Title 21. United States Code, Section 841(a)(1), (bX1XB) and Title

I 8,   United States Code, Section 2.




                                                  10
         Case 2:19-cr-00387-MSG Document 1 Filed 07/10/19 Page 11 of 21



                                          COUNT SIX

THE GRAND JURY FURTHER CHARGES THAT:

               On or about May 16, 2019, in Philadelphia, in the Eastem District   of

Pennsylvania, defendant

                               GREGORY GRAHAM-PEREZ,
                                      a[Wa"Q,"

knowingly possessed in and affecting interstate and foreign commerce a firearm, that is, a.40

caliber Glock, model 23 pistol, bearing serial number SX4015, loaded with 15 live rounds of .40

caliber ammunition, having been convicted in a court ofthe Commonwealth ofPennsylvania ofa

crime punishable by imprisonment for a term exceeding one year, and knowing that he had been

convicted of such a crime.

               In violation of Title I 8, United States Code, Section 922(9(1).




                                                1l
         Case 2:19-cr-00387-MSG Document 1 Filed 07/10/19 Page 12 of 21



                                        COUNT SEVEN
THE GRAND JURY FURTHER CHARGES THAT:

               On or about May 16,2019, in Philadelphia, in the Eastem District   of

Pennsylvania, defendant

                               GREGORY GRAHAM-PEREZ,
                                      a[Wa"Q,"

knowingly possessed a machinegun, as defined by Title 18, United States Code, Section

921(a)(23), and Title 26, United States Code, Section 5845(b), that is, a machinegun conversion

device intended for use in converting a semiautomatic Glock pistol to fire automatically.

               In violation of Title 18, United States Code, Section 922(o).




                                                12
         Case 2:19-cr-00387-MSG Document 1 Filed 07/10/19 Page 13 of 21



                                        COUNT EIGHT

THE GRAND JURY FURTHER CHARGES THAT:

               On or about May 16, 2019, in Philadelphia, in the Eastem District   of

Pennsylvania, defendant

                                        LEROY GRAY,
                                         afl<./a "Scrapr"


knowingly and intentionally possessed with intent to distribute, and aided and abetted the

possession with intent to distribute 500 grams or more, that is, approxim alely 523 grams of a

mixture and substance containing a detectable amount of methamphetamine, a Schedule II

controlled substance.

               In violation of Title 21, United States Code, Section 841(a)(1), (bX1XA) and Title

18, United States Code, Section 2.




                                                l3
         Case 2:19-cr-00387-MSG Document 1 Filed 07/10/19 Page 14 of 21



                                          COUNT NINE

THE GRAND JURY FURTHER CHARGES THAT:

                On or about May 16, 2019, in Philadelphia, in the Eastem District   of

Pennsylvania, defendant

                                          LEROY GRAY,
                                           a/k/a "Scrap,"

knowingly and intentionally possessed with intent to distribute 500 grams or more, that is,

approximately 514 grams ofa mixture and substance containing a detectable amount ofcocaine,

a Schedule   II controlled   substance.

                In violation of Titte 21, United States Code, Section 8a1(a)(1), (b)(lXB).




                                                 14
         Case 2:19-cr-00387-MSG Document 1 Filed 07/10/19 Page 15 of 21



                                            COUNT TEN

THE GRAND JURY FURTHER CHARGES THAT:

                 On or about May 16,2019, in Philadelphia, in the Eastem District       of

Pennsylvania, defendant

                                          LEROY GRAY,
                                           a/k/a "Scrap,"

knowingly possessed in and affecting interstate and foreign commerce      a   firearm, that is, at least

one of the   following: (1) a stolen Smith & Wesson .40 caliber pistol, bearing serial number

FYM6820, loaded with one live round of .40 caliber ammunition, and (2) an Atak Arms .38

caliber revolver with an obliterated serial number, having been convicted in a court of the

Commonwealth of Pennsylvania of a crime punishable by imprisonment for a term exceeding

one year, and knowing that he had been convicted ofsuch a crime.

                 In violation of Title 18, United States Code, Section 922(9)(1).




                                                  l5
          Case 2:19-cr-00387-MSG Document 1 Filed 07/10/19 Page 16 of 21



                                        COUNT ELEVEN
THF],   GRAND.IURY FURTHER CHARGES THAT:
                                                                                '16,
               From at least on or about April 26, 2019, to on or about May            2019, in

Philadelphia, in the Eastem District ofPennsylvania, defendant

                                          LEROY GRAY,
                                           a/h/a "Scrapr"

managed and controlled a residence located at 4829 North gth Street, Philadelphia, Pennsylvania,

and knowingly and intentionally made available for use the residence, for the purpose        of

unlau{i-rlly manufacturing, storing, distributing, and using controlled subslances, that is,

methamphetamine, a Schedule II controlled substance.

               In violation of Title 21, United States Code, Section 856(a)(2).




                                                  t6
         Case 2:19-cr-00387-MSG Document 1 Filed 07/10/19 Page 17 of 21



                                        COUNT TWELVE

THE GRAND JURY FURTHER CHARGES THAT:

                On or about May 16,2019, in Philadetphia, in the Eastem District of Penn-

sylvania, defendant

                                 GREGORY GRAHAM-PEREZ,
                                             alkla"Q,"

knowingly possessed a firearm, that is, a .40 caliber Glock, model 23 pistol, bearing serial

number SX4015, loaded with 15 live rounds of .40 caliber ammunition, in furtherance of a drug

trafficking crime for which he may be prosecuted in   a Court   ofthe United   States, that is,

distribution of methamphetamine, in violation of Title 21, United States Code, Section 841(a)(l),

as charged   in Count Five of this Indictment.

                In violation of Title 18, United States Code, Section 924(c)(1)(A)(i).




                                                 t7
         Case 2:19-cr-00387-MSG Document 1 Filed 07/10/19 Page 18 of 21



                                      COUNT THIRTEEN

THE GRAND JURY FURTHER CHARGES THAT:

               On or about May 16, 2019,in Philadetphia, in the Eastem District olPenn-

sylvania, defendant

                                         LEROY GRAY
                                          a/k/a "Scrapr"

knowingly possessed a firearm, that is, a stolen Smith & Wesson .40 caliber pistol, bearing serial

number FYM6820, loaded with one live round of .40 caliber ammunition, and an Atak Arms .38

caliber revolver with an obliterated serial number, in furtherance of a drug trafficking crime for

which he may be prosecuted in a Court ofthe United States, that is, possession with intent to

distribute methamphetamine, in violation of Title 21, United States Code, Section 841(a)(l), as

charged in Count Eight   ofthis Indictment.

               In violation of Title 18. United States Code, Section 92a(c)(1)(a)(i).




                                                 18
         Case 2:19-cr-00387-MSG Document 1 Filed 07/10/19 Page 19 of 21




                                  NOTICE OF            RFEITURE    1



THE GRAND JURY FURTHER CHARGES THAT:

               As a result of the violations of Title 18, United States Code, Sections 922(9)(1)

and 924(c)(l), as set forth in this indictment, defendants

                                  GREGORY GRAHAM-PEREZ,
                                           a/k/a "Q," and
                                          LEROY GRAY,
                                           a/k/a "Scrap,"

shatl forfeit to the United States of America all firearms and ammunition involved in the

commission of these offenses, including but not limited to:

               I   .   a .40 caliber Glock, model 23 pistot, bearing serial number SX4015,
                       loaded with 15 live rounds of .40 caliber ammunition;

               2.            Smith & Wesson .40 caliber pistol, bearing serial number
                       a stolen
                       FYM6820, loaded with one live round of .40 caliber ammunition;

               3.      an Atak Arms .38 caliber revolver     with an obliterated serial number; and

               4.      All other ammunition recovered or purchased dwing the conspiracy.

               All pursuant to Title   18, United States Code, Section 924(d), made applicable by

Title 28 United States Code, Section 2461(c).




                                                  l9
          Case 2:19-cr-00387-MSG Document 1 Filed 07/10/19 Page 20 of 21



                                    NOTICE OF FORFEITURE              2


THE GRAND JURY FURTHER CHARGES THAT:

                  1.     As a result ofthe violations ofTitle 21, United States Code, Sections 846,

841(aXl), set forth in this indictment, defendants

                                   GREGORY GRAHAM-PEREZ,
                                             a/k/a "Q," and
                                            LEROY GRAY,
                                             a/k/a "Scrap,"

shall forfeit to the United States of America:

                         a)      any property used or intended to be used, in any manner or palt, to
                                 commit, or to facilitate the commission oi such violations and;

                         b)      any property constituting, or derived from, proceeds obtained,
                                 directly or indirectly, from the commission of such violations,
                                 including all United States Cunency.

                  2.     Ifany ofthe property subject to forfeiture,      as a result   ofany act or

omission of the defendant:

                         a)      cannot be located upon the exercise ofdue diligence;

                         b)      has been transferred or sold to, or deposited     with,   a   third party;

                         c)      has been placed beyond      thejurisdiction ofthe Court;

                         d)      has been substantially diminished in value; or

                         e)      has been commingled       with other property which cannot be divided
                                  without difficulty;

it is the intent ofthe United   States, pursuant to   Title 21, United States Code, Section 853(p), to

seek forfeiture   ofany other property ofthe defendants up to the value ofthe property subject to

forfeiture.




                                                      20
        Case 2:19-cr-00387-MSG Document 1 Filed 07/10/19 Page 21 of 21




             All pusuant to Title 21, United   States Code, Section 853




                                          A TRUE BILL:




                                          FOREPERSON




WILLIA      M. McSW
                             ?
United States Attorney




                                               21
